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EXHIBIT MM
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Geraldine A. Wyle, State Bar No. 089735
Jeryll S. Cohen, State Bar No. 125392

Jeffrey D. Wexler, State Bar No. 132256
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Attorneys for James P. Spears,
Temporary Conservator of the Person and
Temporary Co-Conservator of the Estate

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Estate of
BRITNEY JEAN SPEARS,

Proposed Conservatee.

The further hearing on the Petition for Appointment of Temporary Conservator of the
Estate of Britney Jean Spears (“‘Ms. Spears”), filed by James P. Spears, came on regularly for
hearing on February 4, 2008 at 1:30 p.m. in Department 9 of the Los Angeles Superior Court,
Central District, the Honorable Reva Goetz, Judge Pro Tem presiding. Jeryll S. Cohen, Vivian L.
Thoreen, and Jeffrey D. Wexler of Luce, Forward, Hamilton & Scripps LLP appeared on behalf of
Petitioner James P. Spears (“Mr. Spears”), Temporary Conservator of the Person and Co-
Conservator of the Estate of Ms. Spears. Samuel D. Ingham III appeared as the court-appointed
PVP counsel on behalf of Ms. Spears. Andrew M. Wallet of Hinojosa & Wallet appeared on

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LOS ANGELES SUPERIOR COURT

FEB 06 2008

JOHN A. CLARKE, CLERK
attri A bo. a
BY SL. WILLIAMS, DEPUTY

Case No. BP 108870

ORDER EXTENDING TEMPORARY
LETTERS OF CONSERVATORSHIP OF
THE ESTATE

Date: February 4, 2008

Time: 1:30 p.m.

Dept.: 9

Judge: Hon. Reva Goetz, Judge Pro Tem

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behalf of Andrew M. Wallet as Co-Conservator of the Estate of Ms. Spears. Adam F. Streisand of

Loeb & Loeb LLP appeared purportedly on behalf of Ms. Spears. From proof made to the

satisfaction of the court,

THE COURT FINDS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed

with.

2. On February 1, 2008, the Court appointed Mr. Spears and Mr. Wallet as Temporary
Co-Conservators of Ms. Spears’ Estate, and Letters of Temporary Conservatorship of the Estate
were issued to Mr. Spears and Mr. Wallet on the same day.

3. On February 1, 2008, the Court appointed PVP counsel Samuel D. Ingham III as

the Conservatee’s court-appointed attorney.

4, It is in the best interest of the Conservatee that the Temporary Conservatorship be

continued over the Conservatee’s Estate.

5. Mr. Wallet is a suitable and qualified person and is authorized to continue as the

Co-Conservator of Ms. Spears’ Estate.

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6. Mr. Spears is a suitable and qualified person and is authorized to continue as the

Temporar
{ Co-Conservator of Ms. Spears’ Estate.

7. It is necessary and appropriate that the Letters of Temporary Conservatorship of the
Estate issued to Mr. Spears and Mr. Wallet on February 1, 2008 be extended to February 14, 2008

for further hearing.
8. As a result of the pleadings that have been filed, the declaration by J. Edward Spar,

M.D., and the Report of PVP counsel Mr. Ingham, the court finds that Ms. Spears does not have
the capacity to retain counsel and she lacked the capacity to retain Adam F. Streisand as her
counsel.

9. Ms. Spears has a right to be present at this hearing, and she is not present.
According to Dr. Spar’s declaration, Ms. Spears does not have the ability to attend the hearing.

Mr. Ingham indicated in his Report that Ms. Spears was given an opportunity through him to

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communicate to the Court, and she has elected not to. On the basis of Dr. Spar’s declaration and
Mr. Ingham’s Report, the Court should waive Ms. Spears’ presence at the hearing.

10. Mr. Ingham met with Ms. Spears on February 3, 2008.

11. Bond was fixed at $100,000.00 ($50,000.00 for each Co-Conservator), to be

furnished by an authorized surety company or as otherwise provided by law.

THE COURT ORDERS AS FOLLOWS:

1. Notice of time and place of hearing has been given as required by law or dispensed
with.

2 Ms. Spears does not have the Capacity to retain counsel.

3 Ms. Spears lacked the capacity to retain Adam F. Streisand as her counsel.

4. Ms. Spears’ attendance at the hearing is waived.

5 Letters of Temporary Conservatorship of the Estate issued to James P. Spears and
Andrew M. Wallet on February 1, 2008 are extended to February 14, 2008.

6. The Temporary Conservators of the Estate are granted the following powers in
addition to the powers provided by law:

a. The Temporary Conservators shall have the power to obtain all documents and
records relating to the Conservatee and her assets, whether held in her name or
in the name of another, including but not limited to, all records currently in the
Possession and control of the Conservatee’s business manager, Howard
Grossman, her attorneys, and others, all contracts, information relating to credit
cards, bank statements, estate planning documents, receivables, and any and all
powers of attorney.

b. The Temporary Conservators shall have the power to take all actions necessary
to secure the Conservatee’s assets, including the power to enter and take
possession and control of the Conservatee’s residence, to remove all persons
from the residence and take any and all actions necessary to secure the

residence, including changing the locks, call on law enforcement and employ

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| security guards at the expense of the Conservatorship Estate.
2 c. The Temporary Conservators shall have the power to take all actions necessary
3 to secure the Conservatee’s liquid assets, including but not limited to, the power
4 to cancel all credit cards.
5 d. The Temporary Conservators shall have the power to revoke all powers of
6 attorneys, including powers of attorney for making health care decisions and
7 managing real estate, and to terminate any and all agencies.
8 e. The Temporary Conservators shall have the power to commence and maintain
9 litigation and participate in any litigation with respect to which the Conservatee
10 is a party or has an interest, and the power to retain counsel and experts, and to
11 pay same from the Conservatorship Estate, not only as to the family law case
12 but for any other matter.
13 7. The Court grants the Temporary Conservators the powers pursuant to Probate Code
14 || Section 2590 and the following powers set forth in Probate Code Section 2591:
15 a. To contract for the conservatorship and perform outstanding contracts and
16 thereby bind the estate, including asserting or waiving confidentiality
17 agreements.
18 b. To operate at the risk of the estate a business constituting an asset of the estate.
19 c. To pay, collect, compromise, arbitrate, or otherwise adjust claims, debts, or
20 demands upon the Conservatorship Estate.
21 d. To employ attorneys, accountants, investment counsel, agents, depositaries, and
22 employees and to pay the expenses.
23 8. The Temporary Conservators have the power to prosecute civil harassment

24 || restraining orders that they deem to be appropriate.

25 9. Service on Ms. Spears of pleadings that are to be or are sealed shall be served on
26 || PVP counsel Mr. Ingham. Mr. Ingham shall review and discuss such pleadings with the
27 || Conservatee; however, Mr. Ingham shall retain any and all copies of such pleadings and shall not

28 || leave them with the Conservatee, except that Mr. Ingham may leave a copy of the Order

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ORDER EXTENDING TEMPORARY LETTERS OF CONSERVATORSHIP OF THF ESTATE

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appointing him as the Conservatee’s court-appointed counsel with the Conservatee.

10. The Conservatee shall not have any contact, direct or indirect, with Osama aka Sam
Lutfi, including telephone calls, text messaging, or email communications.

11. The Conservatee is to remain in California pending the hearing on the Petition for
Appointment of Permanent Conservator, the written consent of the Conservator of the Person, or
until February 14, 2008 at 1:30 p.m. or further order of the Court.

12. The bond fixed by the Court’s prior Order in the amount of $50,000.00 for each

Co-Conservator is sufficient.

13. The next hearing in this matter is set for F ebruary 14, 2008 at 1:30 p.m.

APPROVED AS TO FORM AND CONTENT:

Dated: 2- b-O8— By:

Samuel D. Ingham III, Counsel for
Temporary Conservateé Britney Jean Spears

Dated: By:

Andrew M. Wallet, Co-Conservator of the
Estate of Britney Jean Spears

IT IS SO ORDERED.

Dated: _ 27) e log ia. 9D?

Hon. Reva Goetz, ing Pro Tem
Superior Court, State of California

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